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 7
                            UNITED STATES DISTRICT COURT
 8
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,               No. 2:23-cr-00124-MCS

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [26 U.S.C. § 7206(2): Aiding and
                                             Assisting in the Preparation of A
13   FOSTER S. LAWYER,                       False Tax Return]

14             Defendant.

15

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          The United States Attorney charges:
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                                [26 U.S.C. § 7206(2)]
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          1. At times relevant to this Information:
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               a.   Defendant FOSTER S. LAWYER was a resident of Los
20
     Angeles, California.
21
               b.   Defendant LAWYER owned and operated a painting business
22
     named Mulligan’s Painters, Inc. (“Mulligan’s Painters”).
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          2.   On or about January 31, 2017, in Los Angeles County, within
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     the Central District of California, defendant LAWYER willfully aided
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     and assisted in, and procured, counseled, and advised the preparation
26
     and presentation to the Internal Revenue Service, of an Employer’s
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     Quarterly Federal Tax Return, Form 941, for the fourth quarter of
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 1   2016 for Mulligan’s Painters, which was false and fraudulent as to a

 2   material matter, in that the Form 941 falsely stated that Mulligan’s

 3   Painters paid $106,700 in wages, tips, and other compensation to its

 4   employees in the fourth quarter of 2016, whereas, as defendant LAWYER

 5   then knew, Mulligan’s Painters had paid substantially more than that

 6   amount in wages, tips, and other compensation to its employees in

 7   that quarter.

 8

 9   E. MARTIN ESTRADA
     United States Attorney
10

11
     MACK E. JENKINS
12   Assistant United States Attorney
13   Chief, Criminal Division

14   RANEE A. KATZENSTEIN
     Assistant United States Attorney
15   Chief, Major Frauds Section
16   KRISTEN A. WILLIAMS
17   Assistant United States Attorney
     Deputy Chief, Major Frauds Section
18
     VALERIE L. MAKAREWICZ
19   Assistant United States Attorney
     Major Frauds Section
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